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                                                                               2017 Jul-18 PM 03:07
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION


ERIC CISNEY, et al.,                          )
                                              )
             Plaintiffs                       )
                                              )
      vs.                                     ) Case No. 5:17-cv-00959-HNJ
                                              )
METROPOLITAN PROPERTY AND                     )
CASUALTY INSURANCE COMPANY,                   )
                                              )
             Defendant                        )

                              DISMISSAL ORDER

      Pursuant to the parties’ Stipulation of Dismissal (Doc. 27), the court

ORDERS, ADJUDGES and DECREES that this action is DISMISSED WITHOUT

PREJUDICE. The parties retain the right to arbitrate the amount of damages due to

plaintiffs under the underinsured motorists coverage of their policy.

      DONE this 18th day of July, 2017.




                                              ____________________________________
                                              HERMAN N. JOHNSON, JR.
                                              UNITED STATES MAGISTRATE JUDGE




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